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                                         February 23, 2022


  VIA E-MAIL
  The Honorable Leda Dunn Wettre, U.S.M.J.
  United States District Court
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

         Re:    CommScope, Inc. v. Rosenberger Technology (Kunshan) Co. Ltd., et al.
                Civil Action No. 2:19-cv-15962-JXN-LDW

  Dear Judge Wettre,

         This office represents plaintiffs CommScope, Inc., CommScope, Inc. of North
  Carolina and CommScope Technologies, LLC (collectively, “CommScope”) in the above-
  referenced matter. We write on behalf of all parties.

          In reviewing the amended scheduling order recently entered by the Court (Dkt.
  514), we noticed that through an inadvertent error in the cover letter by which the parties
  submitted their joint stipulation, the date for the close of expert discovery does not match
  the joint stipulation itself (Dkt. 501).

         Regarding expert discovery, the parties’ joint stipulation “request[ed] that the Court
  extend the expert discovery deadline by approximately 3.5 months, from August 31, 2022
  to December 15, 2022, with opening expert reports due on August 5, 2022, and rebuttal
  expert reports due on October 14, 2022.” (Dkt. 350 at 5.) The amended scheduling order
  adopted all of the dates in the parties’ joint stipulation except that it provides that expert
  discovery, including expert depositions, must be completed on October 14, 2022, rather
  than December 15, 2022 as the parties had agreed. This error appears to have originated
  in the cover letter, which inadvertently does not match the parties’ agreement. (Dkt. 350
  at 2.) It creates an unworkable situation where responding experts must be deposed
  before their reports are due, contrary to the parties’ intent.

          The parties apologize for this scrivener’s error and respectfully request that the
  Court modify the amended scheduling order to set the date for the close of expert
  discovery as December 15, 2022. As revised, the amended scheduling order would read
  as follows, with the only edit shown in strikethrough:


               BRIDGEWATER, NJ       |   NEW YORK, NY     |   ALLENTOWN, PA

                             WWW.NORRISMCLAUGHLIN.COM
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  Norris McLaughlin, P.A.

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            1. The period in which depositions may be taken is extended through July 15,
               2022. All other fact discovery shall have been completed by the January 31,
               2022 deadline of ECF No. 494.

            2. All affirmative expert reports shall be delivered by August 5, 2022. Any
               such report shall comport with the form and content requirements of Fed.
               R. Civ. P. 26(a)(2)(B).

            3. All responding expert reports shall be delivered by October 14, 2022. Any
               such report shall comport with the form and content requirements
               referenced above.

            4. Expert discovery, including the depositions of any expert witnesses, shall
               be completed on or before October 14, 2022 December 15, 2022.

            5. The parties shall appear for a telephonic status conference before the
               undersigned on June 9, 2022 at 2:00 p.m. The parties shall submit a joint
               status letter to the Court no later than one week in advance of the
               conference. Dial-in information for the conference is (888) 684-8852,
               access code 8948139.

         If this correction is acceptable, the parties respectfully request that Your Honor “so
  order” this letter submission, thereby granting this request. If Your Honor has any
  questions, please let the parties know at the Court’s earliest convenience and we will
  work to address them as soon as possible.

                                                    Respectfully submitted,

                                                    NORRIS McLAUGHLIN, P.A.

                                                    /s/ Edward G. Sponzilli
                                                    Edward G. Sponzill
  CC: Counsel of record (via ECF)


  So Ordered:

                                                    ________________________________
                                                    Hon. Leda Dunn Wettre, U.S.M.J.
  Dated: February 23, 2022
